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                   AFFIDAVIT OF SPECIAL AGENT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

       I, Gregory D. Squire, state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Department of Homeland Security, Homeland

Security Investigations (HIS), assigned to the office of the Special Agent in Charge, Boston,

Massachusetts, and have been employed as a Special Agent since 2007. As part of my daily

duties as a Special Agent for ICE, I investigate criminal violations relating to child exploitation

and child pornography, as well as other computer-based crimes. Based on my training and

experience, I am familiar with how people, including those who commit crimes, use e-mail

accounts and social media to plan, discuss, or commit their crimes.

       2.      I am currently participating in the investigation of the two explosions that occmTed

on April15, 2013 in Boston during the Boston Marathon and a subsequent shootout that occurred

on April 18-19, 2013 in Cambridge and Watertown, Massachusetts. I believe that the same

individuals were involved in both the Marathon bombing and the shootout. I have probable cause

to believe Tamerian Tsarnaev ("Tamerian") and Dzhokhar Tsarnaev ('~Dzhokar") carried out the

bombings at the Boston Marathon and other crimes described in greater detail below.

       3.      I am submitting this affidavit in support of an application for a warrant to search

Yahoo! e-mail accounts J.tsarnaev@yahoo.com and Tamerlan_tsarnaev@yahoo.com ("the

Subject Accounts").    I have    probable cause to believe that the Subject Accounts contain

evidence, fruits and instrumentalities of the commission of criminal offenses, including 18 U.S.C.

§§ 2332a(a)(2)(d) (Using and Conspiring to Use A Weapon of Mass Destruction), 844(i)

(Malicious Destruction of Property by Means of an Explosive Device Resulting in Death), 2119


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(Carjacking), 1951 (Interference with Commerce by Violence), 924(c) (Use of a Firearm During a

Crime of Violence) and 371 (Conspiracy to Commit Offenses).

        4.     Based on the e-mail addresses' domain name, I have probable cause to believe that

the accounts and relevant data are maintained by Yahoo! which, government databases indicate,

accepts service of process at:

               Yahoo!, Inc.
               701 First Avenue
               Sunnyvale, CA 94089

       as described in Attachment A.

       5.      This affidavit is based upon information supplied to me by other law enforcement

officers, including other special agents employed by the FBI, task force officers of the JTTF, and

the state and local law enforcement personnel who are participating in the investigation of these

events. It is also based upon my personal involvement in this investigation and on my training and

experience. In submitting this affidavit, I have not included each and every fact known to me

about the investigation, but instead have included only those facts that I believe are sufficient to

establish the requisite probable cause.

       6.      The contents ofthe Subject Accounts were provided by Yahoo! earlier today on an

emergency basis pursuant to the emergency authority in 18 U.S.C. §2702(b)(8). I have seen a

portion of these contents but have not relied on them in applying for this warrant.

                       STATUTORY BACKGROUND OF VIOLATIONS

       5. Based on my training, experience, and discussions with the United States Attorney's

Office for the District of Massachusetts, I have learned the following:

       7.      Title 18, United States Code, Section 2332a provides that, "A person who, without


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lawful authority, uses, threatens, or attempts or conspires to use, a weapon of mass destmction ...

                                                 2




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against any person or property within the United States, and ... the offense, or the results of the

offense affect interstate or foreign commerce ... and if death results, shall be punished by death or

imprisoned for any terms of years or life." The term "weapon of mass destruction" is defined in

18 U.S.C. § 2332ai(2) and includes "any destructive device" as defined in 18 U.S.C. § 921(a)(4).

Section 921 provides that bombs, grenades, rockets, mines and similar objects are destructive

devices.

       8.       Title 18, United States Code, Section 844(i) makes unlawful malicious destruction

of property by means of an explosive, and if death results, the violator shall be "subject to

imprisonment for any term of years, or to the death penalty or to life imprisonment."

       9.       Title 18, United States Code, Section 1951 provides that anyone who interferes

with commerce by threats or violence may be punished by up to twenty years imprisonment.

        10.     Title 18, United States Code, Section 9241 makes unlawful the use or carrying of a

firearm during and in relation to a crime of violence. If the weapon has been used, the term of

imprisonment is not less than five years.      If the weapon has been brandished, the term of

imprisonment is not less than seven years. If the weapon has been discharged, the term of

imprisonment is not less than ten years.

   PROBABLE CAUSE TO BELIEVE THAT A FEDERAL CRIME WAS COMMITTED

                             A. The Boston Marathon Explosions

       11. The Boston Marathon is an annual race that attracts runners from all over the United

States and the world.    According to the Boston Athletic Association, which administers the

Marathon, over 23,000 runners participated in this year's race. The race has a substantial impact on

interstate and foreign commerce. For example, based on publicly available information, I believe

that the runners and their families -- including those who travel to the Boston area from other

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states and countries-- typically spend tens of millions of dollars each year at local area hotels,

restaurants and shops, in the days before, during, and after the Marathon. In addition, a number of

the restaurants and stores in the area near the finish line have special events for spectators.

        12. The final stretch of the Boston Marathon runs eastward along the center of Boylston

Street in Boston from Hereford Street to the finish line, which is located between Exeter and

Dartmouth Streets. Low metal barriers line both edges of the street and separate the spectators

from the runners. Many businesses line the streets of the Marathon route. In the area near the

finish line, businesses are located on both sides of Boylston Street, including restaurants, a

department store, a hotel and various retail stores.

       13.   On April 15, 2013, at approximately 2:49 p.m., while the Marathon was still

underway, two explosions occurred on the north side of Boylston Street along the Marathon's final

stretch. The first explosion occuned in front of 671 Boylston Street and the second occurred

approximately one block away in front of 755 Boylston Street. The explosive devices were

placed near the metal barriers where hundreds of spectators were watching runners approach the

finish line. Each explosion killed at least one person, maimed, burned and wounded scores of

others, and damaged public and private propetiy, including the streets, sidewalk, barriers, and

property owned by people and businesses in the locations where the explosions occurred.

Surgeons removed BBs and nails and other shrapnel from the victims. Preliminmy forensic

review of the explosive devices has revealed that pressure cookers were used in the construction of

the explosive devices. BBs and nails were also used in the construction of the explosive devices.

       14. The explosions had a substantial impact on interstate and foreign commerce. Among

other things, they forced a premature end to the race and the evacuation and temporary closure of

numerous businesses along Boylston Street for several days after the race ended.

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                                   B. Surveillance Evidence

        15. I have reviewed videotape footage taken from a security camera located on Boylston

Street near the comer of Boylston and Gloucester Streets. At approximately 2:38p.m. (based on

the video's duration and timing ofthe explosions)-- i.e., approximately 11 minutes before the first

explosion -- two young men can be seen turning left (eastward) onto Boylston from Gloucester

Street. Both men are carrying large knapsacks. The first man, who I refer to in this affidavit as

the First Bomber, is a young, light-skinned male, wearing a dark-colored baseball cap, sunglasses,

a white shi1t, dark coat, and tan pants. The second man, who I refer to in this affidavit as the

Second Bomber, is a young, light-skinned male, wearing a white baseball cap backwards, a gray

hooded sweatshirt, a lightweight black jacket, and dark pants.       As set forth below, there is

probable cause to believe that the Bomber One is Tamerian Tsarnaev and Bomber Two is his

brother, Dzhokhar Tsarnaev.

       16. After turning onto Boylston Street, Bomber One and Bomber Two can be seen

walking eastward along the nmth side of the sidewalk towards the Marathon finish line. Bomber

One is in front and Bomber Two is a few feet behind him. Additional security camera video taken

from a location further east on Boylston Street, as well as contemporaneous photographs taken

from across the street, show the men continuing to walk together eastward along Boylston Street

towards Fairfield Street.

       17. I have also reviewed video footage taken from a security camera affixed above the

doorway of the Forum Restaurant located at 755 Boylston Street, which was the site of the second

explosion. This camera is located approximately midway between Fairfield and Exeter Streets

and points in the direction of Fairfield.   At approximately 2:41 p.m. (based on the video's

duration and the timing of the explosions), Bomber One and Bomber Two can be seen standing

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together approximately half a block from the restaurant.

        18.   At approximately 2:42 p.m. (i.e., approximately seven minutes before the first

explosion), Bomber One can be seen detaching himself from the crowd and walking east on

Boylston Street towards the Marathon finish line. Approximately 15 seconds later, he can be seen

passing directly in front of the Forum Restaurant and continuing in the direction of the location

where the first explosion occurred. His knapsack is still on his back.

        19. At approximately 2:45p.m., Bomber Two can be seen detaching himself from the

crowd and walking east on Boylston Street toward the Marathon finishing line. He appears to

have the thumb of his right hand hooked under the strap of his knapsack and a cell phone in his left

hand. Approximately 15 seconds later, he can be seen stopping directly in front of the Forum

Restaurant and standing at the metal barrier with his back to the camera, facing the runners.

Approximately five seconds later, he can be seen slipping his knapsack onto the ground. A

photograph taken from the opposite side of the street shows the knapsack on the ground at Bomber

Twds feet.

       20. The Fomm Restaurant video shows that Bomber Two remained in the same spot for

approximately four minutes, occasionally looking at his cell phone and once appearing to take a

picture with it. At some point he appears to look at his phone, which is held at approximately

waist level, and may be manipulating the phone. Approximately 30 seconds before the first

explosion, he lifts his phone to his ear as if he is speaking on his cell phone, and keeps it there for

approximately 18 seconds. A few seconds after he finishes the call, the large crowd of people

around him can be seen reacting to the first explosion. Virtually every head turns to the east

(towards the finish line) and stares in that direction in apparent bewilderment and alarm. Bomber

Two, virtually alone among the individuals in front of the restaurant, appears calm. He glances to

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the east and then calmly but rapidly begins moving to the west, away from the direction of the

finish line. He is no longer wearing or carrying his knapsack. Approximately 10 seconds later,

an explosion occurs in the spot where Bomber Two had placed his knapsack.

          21.     I have observed video and photographic footage of the spot where the second

explosion occurred fi·om a number of different viewpoints and angles, including from directly

across the street. I can discern nothing in that spot in the period before the explosion that might

have caused that explosion, other than Bomber Two's knapsack.

          22. The explosions had a substantial impact on interstate and foreign commerce. Among

other things, they forced a premature end to the race and the evacuation and temporary closure of

numerous businesses along Boylston Street for several days after the race ended.

                                  C. Photographic Identifications

          23. I have compared a Massachusetts Registry of Motor Vehicles ("RMV") photograph

of Dzhokhar A. Tsamaev with photographic and video images of Bomber Two, and I believe,

based on their close physical resemblance, there is probable cause that they are one and the same

person.         Similarly, I have compared an RMV photograph of Tamerian Tsarnaev with

photographic and video images of Bomber One, and i likewise believe, based on their close

physical resemblance, there is probable cause that they are the same person.

                                     D. The Bombers Emerge

          24. I base the information set forth in paragraphs 25 through 32 on information that has

been provided to me by fellow law enforcement officers, including members of the JTTF and state

and local law enforcement who responded to the crime scenes, as well as on publicly available

information and media reports that I deem reliable.

          25.     At approximately 5:00 p.m. on April 18, 2013, the FBI published video and

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photographic images of Bomber One and Bomber Two on its web site. Those images were

widely rebroadcast by media outlets all over the country and the world.

        26.     At approximately 10:48 P.M. on April 18, 2013, at Massachusetts Institute of

Technology ("MIT"), two men approached an MIT Police Officer and shot him dead.

        27. A short time later-- at approximately 12: 19 a.m. ~~ an individual hijacked a vehicle at

gunpoint in Cambridge, MA. A victim of the carjacking was interviewed by law enforcement and

provided the following information. The victim stated that while he was sitting in his car on a

road in Cambridge, another car approached from the rear. A man exited, approached the victim's

car, and brandished a gun.       The man said words to the effect of, "Did you hear about the

explosion?" and "I did that." The man removed the magazine from his gun and showed the victim

that it had a bullet in it, then re-inserted the magazine.

       28. The man with the gun then entered the victim's car and forced the victim to drive to

another location, where they picked up a second man. The man with the gun and the second man

spoke in a foreign language. One of the men took the victim's wallet and compelled the victim to

give them his ATM password. They then drove to an ATM machine and extracted approximately

forty~five    dollars from the machine.      The two men and the victim then drove to a gas

station/convenience store in the vicinity of816 Memorial Drive, Cambridge. The two men exited

the vehicle, at which point the victim managed to escape.

       29. I have reviewed images of two men taken at approximately 12:17AM by a security

camera at the gas station/convenience store and, based on the men's close physical resemblance to

RMV photos of Tamerin and Dzhokhar Tsarnaev, I believe the two men who carjacked and

kidnapped the victim are Tamerin and Dzhokhar Tsarnaev.

       30. A short time later, the stolen vehicle was located in Watertown, Massachusetts. A

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gun fight ensued between the car's occupants and law enforcement agents who were pursuing

them. As the men drove down Dexter Street in Watertown, they threw two small improvised

explosive devices ("IEDs") out of the car. Police shot one of the men while he was in the vehicle.

That man exited the vehicle and police shot him several more times. I have seen a photograph of

the man who was shot, and I believe, while the man's face is disfigured in the photo, it matches the

RMV photo ofTamerian Tsarnaev.

       31. The second man, who was still in the stolen car, continued to dlive away. Police

pursued him, but by the time they reached the car, which was in a very poorly lit area, the man had

abandoned it. That man remains at large.

       32. Police have so far recovered five IEDs from the scene of the car chase. Three had

already exploded and two had not. The remnants of at least one of the exploded IEDs indicates

that the explosives had been contained in a pressure cooker. In addition, two intact pipe bombs

were located and seized. The bombs were made of steel in 90 degree elbows containing internal

plugs. The type of explosive is not yet known. The pipe bombs were located at 53 Laurel Street

in Watertown.

                               E. Identification of the Bombers

       3 3. The man who was shot died at the scene and was taken to Beth Israel Hospital. FBI

fingerprint analysis confirms that he is Tamerian Tsarnaev. Registry of Motor Vehicle records

indicate that Tamerian Tsarnaev, whose RMV photograph is consistent with the appearance of the

person described above as Bomber One, has a listed address of 410 Norfolk St., Apt. 3,

Cambridge, MA 02139. Tamerian's date ofbitih is in 1986.

       34. A publicly accessible database check of records related to Tamerian Tsarnaev also

revealed a listed address of 410 Norfolk St., Apt. 3, Cambridge, MA. In the same database, a

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query of other individuals residing at 410 Norfolk St., Apt. 3, Cambridge, MA, indicated that

Dzhokhar Tsarnaev and others resided at apartment 3.          An RMV photograph of Dzhokhar

Tsarnaev is consistent with the appearance of Bomber Two, RMV records further indicate that he

was hom in 1993 and also resides at 410 Norfolk St., Apt. 3, Cambridge, MA. According to the

Department of Homeland Security immigration records, Dzhokhar and Tamerian Tsarnaev are

brothers.    According to Department of Homeland Security, Tamerian Tsamaev entered the

United States on 7/19/2003 and appeared to be a Lawful Permanent Resident.               Dzhokhar

Tsaernaev entered the United States on April 12, 2002, and is a naturalized U.S. citizen. At that

time, the father indicated that the family was ethnically Chechen. According to intemet searches,

Tamerian Tsamaev appears on Youtube and other social media sites. Dhzokhar maintained a

Facebook account under the name "lahar Tsarnaev," and there are photos that resemble Dhzokhar

on the site. On April 19, 203, a resident of the first floor of 410 Norfolk Street exited the

residence as an FBI team approached the residence.     The resident said that she recognized one of

the residents ofthe third floor apartment as one ofthe individuals in the FBI-disseminated videos

of the bombers at the Boston Marathon. The resident also said that she thought his name was

something akin to (phonetically) lhahar, and that she hasn't seen him for a few months. The

resident said that his brother, who she called Tamarian lives there

                                    E. The E-mail Accounts

       35.     The l.tsarnaev@yahoo.com e-mail account was used by Dzhokhar Tsarnaev to

apply for FAFSA Federal student aid through the Department of Education for his schooling at

UMass-Dartmouth, according to documents provided to law enforcement by the Department of

Education. That application contains what I believe to be Dzhokhar's social security number and

date of birth. As noted above, Dzokhar has used the name "lahar Tsarnaev," which explains the

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"J.tsarnaev" e-mail address.

       36.     The Tamerlan tsamaev@yahoo.com e-mail account was provided to law

enforcement by Bunker Hill Community College.           Tamerian was a student a Bunker Hill

Community College, and he used the Tamerlan tsarnaev@yahoo.com in information that he

provided to the college.

                PROBABLE CAUSE TO BELIEVE THAT THE ACCOUNTS
               CONTAIN EVIDENCE, FRUITS, AND INSTRUMENTALITIES

       37.     I also have probable cause to believe that the Subject Accounts and the data

associated with those accounts contain evidence, fruits, and instrumentalities of the crimes

identified above. I base this conclusion in part on my training and experience. I know that many

people regularly use e-mail to provide contact information to others, as well as to discuss future

plans and to make logistical arrangements. I also know, based on my training and experience,

that many criminals use e-mail to plan and discuss their criminal schemes.

       38.     Furthermore, the characteristics of both Tamerin and Dzhokhar Tsarnaev make it

likely that the Subject Accounts contain evidence, fruits, and instrumentalities of the crimes

identified above. It appears that both Tamerin and Dzhokhar used social media. It appears that

Tamerin had a YouTube page containing several videos. It appears that Dzokhar has a Facebook

page. Given their ages (19 for Dzokhar and 26 for Tamerin), their use of social media, and the

fact that they provided Yahoo! E-mail addresses to the Department of Education and Bunker Hill

Community College, there is probable cause to believe that they used these e-mail accounts

regularly, and that evidence of the crimes described in this affidavit would be found in them.

                                 TECHNICAL BACKGROUND

       39.     In my training and experience and through discussions with other agents, I have


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learned that e-mail hosting companies, such as Yahoo!, maintain computer servers connected to

the Internet.      Their customers use those computers to send e-mail on the Intemet.

        40.        Customers can access their accounts on the company's e~mail servers from any

computer connected to the Intemet.

        41.        Yahoo! has storage capacity that allows customers to store opened incoming mail

and sent mail indefinitely if they choose, subject to a maximum size limit.

        42.        E~mail   providers also typically maintain electronic records relating to their

customers. These records include account application information, account access information,

and e-mail transaction information.

        43.        Some e-mail providers can also provide the following additional information

associated with a subscriber's account: address books; buddy lists; photos, files, data, or other

information; and World-Wide Web profiles or homepages.

                                             LEGAL AUTHORITY

        44.        The government may obtain both electronic communications and subscriber

information from an e-mail provider by obtaining a search wanant.             18 U.S.C. §§ 2703(a),

2703 (c)(1 )(A).

        45.        Any court with jurisdiction over the offense under investigation may issue a search

warrant under 18 U.S.C. § 2703(a), regardless of the location ofthe website hosting company or

e~mail provider whose information will be searched.        18 U.S.C. § 2703(b)(1)(A). Fmthermore,

unlike other search watTants, § 2703 wanants do not require an officer to be present for service or

execution of the search wan·ant. 18 U .S.C. § 2703(g).

        46.        If the government obtains a search warrant, there is no requirement that either the

government or the provider give notice to the subscriber.              18 U.S.C. §§ 2703(b)(l)(A),

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2703(c)(3).

              REQUEST TO SEAL AND PRECLUDE NOTICE TO THE SUBSCRIBER(S)

        47.     I request that this application, the warrant, the order, and any related papers be

sealed by the Court until such time as the Court pursuant to Local Rule 7.2 directs othetwise. I

further request that, pursuant to 18 U.S.C. § 2705(b), the Court order Yahoo! not to notify any.

person (including the subscribers or customers to which the materials relate) of the existence of

this application, the warrant, or the execution ofthe warrant unless and until authorized to do so by

the Court. Such an order is justified because notification of the application, the warrant, or the

execution of the warrant could seriously jeopardize the ongoing investigation by giving the

subscriber an opportunity to destroy evidence, notify confederates, or flee from prosecution.

                     FOURTEEN-DAY RULE FOR EXECUTION OF WARRANT

        48.     Federal Rule of Criminal Procedure 41(e)(2)(A),(B) directs the United States to

execute a search warrant for electronic evidence within 14 days (formerly 10 days) of the warrant's

issuance. If the Court issues this warrant, the United States will execute it not by entering the

premises of Yahoo! as with a conventional warrant, but rather by serving a copy of the warrant on

the company and awaiting its production ofthe requested data. This practice is approved in 18

U.S.C. § 2703(g), and it is generally a prudent one because it minimizes the government's intrusion

onto Internet companies' physical premises and the resulting disruption of their business practices.

        49.     Based on my training and experience and that of other law enforcement, I

understand that e-mail providers sometimes produce data in response to a search warrant outside

the 14-day period set forth in Rule 41 for execution of a wanant. I also understand that e-mail

providers sometimes produce data that was created or received after this 14-day deadline

("late-created data").

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       50.     The United States does not ask for this extra data or participate in its production

       51.     Should Yahoo! produce late-created data in response to this warrant, I request

permission to view all late-created data that was created by Yahoo! including subscriber, IP

address, logging, and other transactional data, without a fmiher order of the Court.            This

information could also be obtained by grand jury subpoena or an order under 18 U.S.C. §

2703(d), neither of which contains a 14-day time limit.      However, law enforcement personnel

will seek to avoid reviewing any late-created data that was created by or received by the

account-holder(s), such as e-mail, absent a follow-up warrant.

       52.     For these reasons, I request that the Comi approve the procedures in Attachment B,

which set forth these limitations.

                                             CONCLUSION

       53.     Based on the information described above, I have probable cause to believe that

records and data from the Subject Accounts (as described in Attachment A), contain evidence,

fruits, and instrumentalities of the crimes listed above (as described in Attachment B).




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       54.    The procedures for copying and reviewing the relevant records are set out in

Attachment B to the search warrant.




                                                   Special A· nt Gregory D. Squire
                                                   Immigration and Customs Enforcement




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